Appendixes ECF No. 37-8, PagelD.1573 Filed 10/07/24 Page 1 of 8

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Katrina Bergunder
24674 Republic Ave
Oak Park, MI 48237

May 17, 2023

JP Morgan Chase

Attn: Customer Service

PO BOX 15369
WILMINGTON, DE 19850

Subject: Request for Accurate Reporting of Dismissed Debt
Dear Sir/Madam,

I am writing to bring to your attention a discrepancy in the reporting of a debt on my credit
report. The debt in question, associated with Katrina Bergunder and court CASE NO: 22-
00061GC, has been legally dismissed with prejudice by 45th District Court (13600 Oak Park
Blvd, Oak Park, MI 48237) on February 21, 2023, as confirmed by the court's dismissal order.

Despite the court's ruling, it has come to my attention that the debt is still being inaccurately
reported as "charged off” on my credit report. This misrepresentation negatively impacts my
credit history and misleads potential creditors who review my creditworthiness.

I kindly request that Chase immediately update the reporting of this debt to accurately reflect the
dismissal with prejudice. It is imperative that the accurate status of "dismissed with prejudice" is
reflected on my credit report, as mandated by the Fair Credit Reporting Act.

Enclosed with this letter, you will find a copy of the court's dismissal order and court of record,
which serves as conclusive evidence of the debt's legal status. I expect this documentation to be
thoroughly reviewed and the necessary updates to be made promptly.

Please provide written confirmation once the accurate reporting has been updated on my credit
report. Failure to comply with this request may result in legal action to enforce my rights under
the Fair Credit Reporting Act.

I trust that Chase will handle this matter expeditiously and in accordance with the relevant
regulations. Thank you for your attention to this important issue.

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Katrina Be der

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Original - Court file

{st copy - Assignment Clerk/Extra 3rd copy - Opposing party
Approved, SCAO 2nd copy- Friend of the Courv/Extra 4th copy - Moving party
STATE OF MICHIGAN CASE NO.
JUDICIAL CIRCUIT
45th JUDICIAL DISTRICT ORDER 22-00061GC
COUNTY
Court address Court telephone no.
13600 Oak Park Blvd, Oak Park, MI 48237 (248)691-7440
Plaintiff (s), ad (es), and telephone no(s). Defendant — address(es), and teleph no(s).
JP Morgan Chase Bank, NA. Katrina I Bergunder
24674 Republic Ave.
Vv Oak Park, MI 48237
(773)853-7085
Paras bar no., address, and telephone no. Defendant's atlomey, bar no., address, and telephone no.
Mandarich Law Group, LLP
James McArdle
P-82443
P.O. Box 109032, Chicago, IL 60610
(866)757-4738

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4. Motion title: Motion-to-excludeawitness-and-disssiss— “Pism iss wwim ger {ie hs

2. Moving party: Katrina Bergunder, defendant

3. This motion was heard by the Honorable Judge Michelle Friedman Appel on ae jz

Wa. For the reasons stated on the record,

THE COURT ORDERS that the above-named motion is {¥] granted.
Cigranted in part, denied in part.
(denied.
Hime court further orders
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Fen 2 1 2023 “Tae DN 32709
Date

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13600 Oak Park Bivd
Oak Park, MI 48237

Register of Action

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| [STATE OF MICHIGAN I
| [45TH JUDICIAL DISTRICT] REGISTER OF ACTIONS
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' \

CASE NO: 22-00061GC GC

; Court Address 13600 OAK PARK BLVD Court Telephone |
i OAK PARK Mr 48237 (248) 691-7440 |
: |
{ JUDGE OF RECORD: APPEL,MICHELLE FRIEDMAN, P-32709

\

|
i Attorney |
i POL PLAINTIFF (CLSD) P-81102 |
' JP MORGAN CHASE BANK NA// MAMUT,MICHAEL THOMAS,

{ 28366 FRANKLIN RD |
{ SOUTHFIELD MI 48034

(248) 352-4340

| p01 DEPENDANT (CLSD) |
| | BERGUNDER/KATRINA/I |
{ 24674 REPUBLIC AVE |
{ OAK PARK MI 48237
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' '
‘ !
i |
| parE ACTIONS, JUDGMENTS, CASE NOTES INITIALS
} |
{01/07/22 }
| pol SUMM & COMP FILED MAMUT, MICHAEL T P-81102 WMC |
{ (RETD ) $9,772.36 |
| 01/10/22 !
{ FILING FEE PAID $75.00 RCPT # D337821 ™s i
' CHECK TENDERED 302894 ™s |
| 03/31/22
{pol MOTION TO EXTEND TIME FOR SERV FILED NMC |
j POL ORDER TO FXTEND TIME FOR SERV FILED NMC |
} (23 )
| pon MOTION FOR SUBSTITUTED SERVICE FILED mac |
} P01 ORDER FOR SUBSTITUTED SERVICE FILED NMC i
i (23 ) '
| MOTION FEE PAID $20.00 RCPT # D341877 T™s |
CHECK TENDERED 50285 T™S |
| 04/07/22 |
| pon ORDER TO EXTEND TIME FOR SERV ENTERED POT |
i 07/07/22 05:30 |
i pol ORDER FOR SUBSTITUTED SERVICE ENTERED PT |
| Pol SUMM & COMP TO USE OWN PROCESS SRVER ISSUED PIT {
| 04/26/22
/ por PROOF OF SERVICE FILED PUT |
| (POSTED ) i
j 04/27/22 i
} pol PROOF OF SERVICE FILED por |
| (1s7/cER) |
i por SUMM & COMP FOR SUBSTITUTED SERVICE SERVED put |
| 05/04/22 | \
: DEF AT COUNTER--WILL FILE WRITTEN RESPONSE W/ Pat |
i THE COURT PUT |
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JP MORGAN CHASE BANK N v BERGUNDER/KATRINA/T

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LARRY ST LISS SEE Em S28 CONG 9977 -Bilep ae

ANSWER FILED
AFF DEFENSES FILED

P.
PJT

CASE#: 22-00061GC PAGE: 2

‘JP MORGAN CHASE BANK N v BERGUNDER/KATRINA/I
i

DATE ACTIONS, JUDGMENTS, CASE NOTES INITIALS
ALL PRE-TRIAL SCHEDULED PUT
06/21/22 09:20A
ALL NOTICE TO APPEAR ISSUED PUT
COPY OF ANSWER ATTACHED TO NTAS PUT
05/23/22
RETD DEFAULT JDGMT-~ANSWER FILED, PT SCHEDULED PUT
06/21/22
ALL PRE-TRIAL HELD PJT
ALL PRE-TRIAL FINAL SCHEDULED PUT
10/25/22 09:00A
PARTIES PRESENT VIA ZO0M; DISCOVERY IS ORDERED PUT
& TO BE COMPLETED BY 8/19/22; CASE EVAL IS POT
NOT ORDERED; WITNESS LIST BY 7/22/22; DISP eur
MINS BY 9/2/225; FINAL PT SHALL BE SET AFTER PUT
CLOSE OF DISCOVERY & AFTER DISP MTN CUT OFF PJT
ALL NOTICE TO APPEAR ISSUED PJT
08/18/22
boi EXHIBITS FILED NMC
10/19/22
FEE WAIVER REQUEST FILED BY K. BERGUNDER POT
FEE WAIVER REQUEST GRANTED PUT
10/25/22
ALL PRE-TRIAL FINAL HELD PUT
ALL PRE-TRIAL FINAL SCHEDULED PUT
01/10/23 09:00A
PARTIES PRESENT VIA ZOOM; ADJ 60 DAYS PUT
ALL NOTICE TO APPEAR ISSUED PUT
01/10/23
ALL PRE-TRIAL FINAL HELD PUT
ALL BENCH TRIAL SCHEDULED PUT
(LIVE ) 02/21/23 10:30A
PARTIES PRESENT VIA ZOOM; SET FOR **LIVE** IN PUT
PERSON BENCH TRIAL ON 2/21/23 10:30AM-~-DATE & PUT
TIMD GCIVDN OM THE RECORD PUT
ALL NOTICE TO APPEAR ISSUED POT
02/01/23
P01 NOTICE WITNESS LIST FILED PUT
02/06/23
PO1 ACTION TELEPHONE CALL RECEIVED NMC
ADV TO SUBMIT REQ TO JUDGE FOR ANY PARTY TO NMC
APPEAR VIA Z00M NMC
02/07/23
Pol CORRESPONDEN FILED PUT
(2a* )
*PLAINTIFF'S REQUEST FOK WLTNESS TO APPEAR VIA PUT
ZOOM PIT
02/08/23
Dol ACTION TELEPHONE CALL RECEIVED PUT
T/C DEF REQ MTN TO DISMISS DATE--ADV NO PUT
AVAILABLE DATES PRIOR TO BT--GAVE BT DATE AND PUT
TIME PUT
Dol MOTION FILED PUT
(* )
**DEF MTN TO EXCLUDE WITNESS AND DISMISS PUT
Dol NOTICE FILED PUT

CASE#: 22-00061GC PAGE: 3

DATE ACTIONS, JUDGMENTS, CASE NOTES INITIALS

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| Do1 PROOF OF SERVICE FILED PIT

\ ALL MOTION SCHEDULED 02/21/23 10:30A POT

| 02/09/23

' PLTF REQ REVIEWED BY JUDGE MFA, PER JUDGE MFA, PUT

! OK FOR WITNESS TERRICKA CLARK TO APPEAR FOR BT PUT
VIA 200M PUT

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02/15/23

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02/21/23
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**FILE WITH JUDGR MFA**
FILE RETD BY JUDGE MFA

NOTICE TO DISMISS FILEL

SUFFICIENT AS A
STIP & ORDER TO DISMISS MUST BE FILED TU
D SS THIS CASE

T/C TO PLTF ATTY'S OFFICE - WAS TRANSFERRED
TWICE AND DID NOT GET ANYONE ON THE PHONE THAT
COULD TAKE CARE OF THIS MATTER - SPOKE TO

TWO DIFFERENT RECEPTIONISTS THEREFORE I SENT
AN EMAIL TO THE PERSON WHO SUBMITTED THE
DISMISSAL BY EMAIL

BENCH TRIAL HELD
ORDER TO DISMISS ENTERED
DISMISSAL WITH PREJUDICE ENTERED

PARTIES

DISM

PREJUDICE

**#*** END OF REGISTER OF ACTIONS ***** 05/17/23 10:03

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Katrina Bergunder
24674 Republic Ave
Oak Park, MI 48237

June 5, 2023

JP Morgan Chase

Attn: Customer Service
PO BOX 15369
WILMINGTON, DE 19850

Subject: Request to Correct Credit Report Information
Dear Sir/Madam,

| am writing in response to your recent correspondence regarding my request to update the reporting
status of the debt associated with my account. | appreciate your prompt attention to my concern, but |
must assert that the current reporting status of "charged off" is still inaccurate and must be corrected.

As | previously indicated, the debt in question has been legally dismissed with prejudice 45" District
Court located at 13600 Oak Park Blvd, Oak Park MI, as confirmed by the court's dismissal order, which |
have provided as supporting documentation. The dismissal with prejudice invalidates any claims
associated with the debt and mandates an accurate reporting of its dismissal status.

It is crucial for accurate and fair reporting that the credit reporting information reflects the true legal
status of the debt. Labeling it as "charged off" misrepresents the outcome of the court proceedings and
can lead to confusion and potential negative consequences for my creditworthiness.

| kindly request that you review the documentation provided once again and make the necessary
corrections to accurately reflect the dismissal with prejudice on my credit report. It is imperative that the
reporting of this debt aligns with the legal ruling and provides an accurate representation of my credit
history.

| trust that Chase Card Services will rectify this matter promptly and ensure that my credit report reflects
the true status of the debt. Failure to address this issue appropriately may leave me with no choice but

to pursue further action to protect my rights under the Fair Credit Reporting Act.

Thank you for your immediate attention to this matter. | look forward to receiving confirmation of the
corrected reporting status in due course.

Wal
Katrina Bergundér

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Original - Court file

1st copy - Assignment ClerW/Extra 3rd copy - Opposing party
‘ Approved, SCAO 2nd copy- Friend of the CourvExtra 4th copy - Moving party
STATE OF MICHIGAN CASE NO.
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Plainti (s) (es), and teleph no(s). Defendant name(s), address(es), and telephone no(s).
JP Morgan Chase Bank, N.A. Katrina I Bergunder
24674 Republic Ave.
Vv Oak Park, MI 48237
(773)853-7085
Plaintiff's attorney, bar no., address, and telephone no. Defendant's y, bar no., add and teleph no.
Mandarich Law Group, LLP
James McArdle
P-82443
P.O. Box 109032, Chicago, IL 60610
(866)757-4738

1. Motion title: Motiop-to-exclude.witness-and-dismiss— PBism (SS (AZ ity (jre fs ar CQ

2. Moving party: Katrina Bergundes, defendant

3. This motion was heard by the Honorable Judge Michelle Friedman Appel on —
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YZ 44. For the reasons stated on the record,
THE COURT ORDERS that the above-named motion is (¥] granted.
(granted in part, denied in part.
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vs
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Judge

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